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                                        UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
                                                                               (For Revocation of Supervised Release)

v.
                                                                               Case Number: 1:14-CR-00077-001
CHRISTOPHER RENDON BAKER                                                       USM Number: 20763-017
a/k/a Little Chris, a/k/a Bake                                                 LaWanda J. O'Bannon, Esquire
                                                                               Defendant’s Attorney

THE DEFENDANT:
         admitted guilt to violation of standard conditions 1,3,11 and two special conditions of the terms of supervised release as set
         forth in the Petition dated 10/4/2017.
     	   was found in violation of condition(s)                                       after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                                             Nature of Violation                                         Violation Ended
         Special                                                   Technical
           1                                                       Technical
           3                                                       Technical
           11                                                      Technical
         Special                                                   Technical



The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

         The defendant has not violated condition(s) ________________________ and is discharged as to such violation(s) condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.



                                                                            October 25, 2017
                                                                            Date of Imposition of Judgment

                                                                            /s/ Callie V. S. Granade
                                                                            Signature of Judge

                                                                            CALLIE V. S. GRANADE
                                                                            SENIOR UNITED STATES DISTRICT JUDGE
                                                                            Name and Title of Judge

                                                                            October 30, 2017
                                                                            Date
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DEFENDANT:                  CHRISTOPHER RENDON BAKER, aka Little Chris, aka Bake
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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

NINE (9) MONTHS.

     	 The court makes the following recommendations to the Bureau of Prisons:
	
	
     	 The defendant is remanded to the custody of the United States Marshal.
     	 The defendant shall surrender to the United States Marshal for this district:
	
                at                                          a.m.               p.m.    on

                as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.



                                                               RETURN
I have executed this judgment as follows:


          Defendant delivered on                                     to


at                                        , with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL
                                                                          By

                                                                                            DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                 CHRISTOPHER RENDON BAKER, aka Little Chris, aka Bake
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: SEVENTY-FIVE (75) MONTHS.


     Special Conditions:

1) The Defendant shall be evaluated for substance abuse and referred to treatment as determined necessary through an evaluation
process. The defendant may be tested for the presence of illegal controlled substances or alcohol at any time during the term of
supervision.

2) The Defendant shall abstain from the consumption of alcoholic beverages during the term of supervised release.

3) Any unpaid fine balance shall be made in monthly installments of not less than $50.00 to commence within three months of the
Defendant’s release from custody.

4) The Defendant shall pay a fine in the total amount of $1,500. Payments are to be made to the Clerk, U.S. District Court unless
otherwise directed by the Court.

5) The Defendant shall submit his person, house, residence, vehicle(s), papers, [computers (as defined by 18 U.S.C. Section
1030(e)(1)) or other electronic communications or data storage devices or media], business or place of employment, and any other
property under the offender's control to a search, conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to
submit to a search in accordance with this condition may be grounds for revocation. The offender shall warn any other occupants that
the premises may be subject to searches pursuant to this condition.




For offenses committed on or after September 13, 1994: The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

     The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
     substance abuse. (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, is a
     student, as directed by the probation officer. (Check, if applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment. The defendant must report to the probation office in the
district to which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court.
The defendant shall also comply with the additional conditions on the attached page.


                                                   See Page 4 for the
                                        “STANDARD CONDITIONS OF SUPERVISION”
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DEFENDANT:                CHRISTOPHER RENDON BAKER, aka Little Chris, aka Bake
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                              STANDARD CONDITIONS OF SUPERVISION
    1. the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. the defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer;
    3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
        the probation officer;
    4. the defendant shall support his or her dependents and meet other family responsibilities;
    5. the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
    6. the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
    7. the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
        or administer any controlled substance or any paraphernalia related to any controlled substances, except
        as prescribed by a physician;
    8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;
    9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate
        with any person convicted of a felony, unless granted permission to do so by the probation officer;
    10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view of the probation officer;
    11. the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer;
    12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court; and
    13. as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall permit the
        probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
    14. the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted
        of qualifying offenses.
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DEFENDANT:                   CHRISTOPHER RENDON BAKER, aka Little Chris, aka Bake
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                                        CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Page 6.
                                                     Assessment                               Fine                      Restitution
TOTALS                                                                                   $1,500.00
                                                                    (less any payments previously
                                                                                             made)

      The determination of restitution is deferred until ____________. An Amended Judgment in a Criminal Case (AO245C) will be
      entered after such determination.

      The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified otherwise
in the priority order or percentage payment column below. (or see attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal
victims must be paid in full prior to the United States receiving payment.



      If applicable, restitution amount ordered pursuant to plea agreement $ _______________
      The defendant must pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Page 6 may be
      subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             the interest requirement is waived for the            fine                                restitution
             the interest requirement for the                      fine                                restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                  CHRISTOPHER RENDON BAKER , aka Little Chris, aka Bake
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                                               SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A           Lump sum payments of $1,500.00 (less any payments previously made) due immediately, balance due not later than _, or

            in accordance with                C,                D,                E, or              F below; or

B           Payment to begin immediately (may be combined with                    C,                 D, or                    F below); or

C           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal      (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                               (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment
            to a term of supervision; or

E           Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
            from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
            time; or

F           Special instructions regarding the payment of criminal monetary penalties:
            It is ordered that the Defendant shall pay to the United States a fine of $1,500.00 (less any payments previously
            made), which shall be due immediately. Said fine shall be paid to the Clerk, U.S. District Court for the Southern
            District of Alabama. The Defendant must notify the Court of any material changes his economic circumstances, in
            accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a change in the Defendant’s economic
            condition, the Court may adjust the installment payment schedule as the interests of justice require.


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several

          Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
      loss that gave rise to defendant's restitution obligation.
      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
